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                  UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK



STATE OF NEW YORK, et al.,

             Plaintiffs,

        v.
                                                    25-CV-01144 (JAV)
DONALD J. TRUMP, in his official
capacity as President of the United States,
et al.,

             Defendants.




   BRIEF OF AMICI CURIAE FORMER TREASURY DEPARTMENT
                  OFFICIALS IN SUPPORT OF
    PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
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                         INTEREST OF AMICI CURIAE1

      Amici curiae respectfully submit this brief in support of Plaintiffs’ motion for

a preliminary injunction. Amici are former United States Treasury officials with

substantial experience and knowledge concerning the Bureau of Fiscal Services

(“BFS”) payment systems at issue in this action. Amici have been following with

great interest and concern recent public reports about efforts by the “Department of

Government Efficiency” (“DOGE”) to gain access to BFS payment systems. Amici

believe that their informed perspectives, as set forth in this brief, will assist the Court

in assessing Plaintiffs’ instant motion.

      Amici consist of the following former Treasury officials:

          x Jacob Leibenluft, former Counselor to United States Treasury Secretary
            Janet Yellen2

          x Natasha Sarin, former Counselor to the Secretary, Tax Policy and
            Implementation

          x Dick Gregg, former Fiscal Assistant Secretary and FMS Commissioner

          x Josh Frost, former Assistant Secretary for Financial Markets

1
  No party’s counsel authored this brief in whole or in part; no party or party’s
counsel contributed money that was intended to fund preparing or submitting the
brief; and no person—other than amici curiae, its members, or its counsel—
contributed money that was intended to fund preparing or submitting the brief.
2
  This brief is adapted from an essay prepared by Mr. Leibenluft. See Jacob
Leibenluft, “DOGE” Access to Treasury Payment Systems Raises Serious Risks,
Center     on     Budget     &    Policy    Priorities   (Feb.     11,   2025),
https://www.cbpp.org/research/federal-budget/doge-access-to-treasury-payment-
systems-raises-serious-risks#.

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         x Anna Canfield Roth, former Assistant Secretary for Management

         x Aditi Hardikar, former Assistant Secretary for Management

         x Danny Werfel, former OMB Controller

         x Graham Steele, former Assistant Secretary for Financial Institutions

         x Amias Gerety, former Acting Assistant Secretary for Financial
           Institutions

         x Antonio Weiss, former Counselor to the Treasury Secretary

                     SUMMARY OF THE ARGUMENT

      On January 31, reports began emerging from the Treasury Department that

senior civil servants were resisting requests from the “Department of Government

Efficiency” (“DOGE”) concerning access to the payment systems the Bureau of the

Fiscal Service (“BFS”) operates.3 As the New York Times would later report,

“Trump administration appointees and allies of Elon Musk” had requested that

career officials use the BFS payment systems to freeze federal payments, prior to

political appointees gaining access.4 Musk—who is reportedly “fixated on the


3
  Andrew Duehren et al., Treasury Official Quits After Resisting Musk’s Requests
on        Payments,       N.Y.         Times,         Jan.       31,       2025,
https://www.nytimes.com/2025/01/31/us/politics/david-lebryk-treasury-resigns-
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Freeze Foreign Aid Payments, Emails Show, N.Y. Times, Feb. 6, 2025,
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Treasury system as a key to cutting federal spending”5—tweeted about DOGE’s

intention to stop certain payments, declaring that civil servants at BFS are criminally

enabling fraudulent payments.6

        Shortly thereafter, officials affiliated with DOGE were granted certain access

to BFS systems, although press reports have varied on the exact nature of this

access.7 For the first time in decades, the Secretary of the Treasury has delegated

the responsibilities of overseeing these payment systems to a political official rather

than a non-partisan career civil servant with long expertise and experience in these

matters, even while that political official maintains his role as a private company

CEO.8

        DOGE access to or control over BFS systems raises serious concerns,

including the risk that payments will be illegally stopped based on Musk’s or the



5
 Duehren et al., “Treasury Official Quits After Resisting Musk’s Requests on
Payments,” supra.
6
  “Career Treasury officials are breaking the law every hour of every day by
approving payments that are fraudulent or do not match the funding laws passed by
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8
    See Decl. of Thomas H. Krause, ECF No. 13.


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Trump Administration’s own political or policy preferences, the possibility of severe

cybersecurity and privacy breaches, and the potential that payments could be

inadvertently delayed to millions of individuals, including retirees and veterans; to

organizations and businesses providing public services on behalf of the federal

government; and to states, localities, territories, and tribal nations providing services

like Medicaid and transportation. Amici’s concerns are widely shared by those with

knowledge of BFS’s systems. Five former Treasury Secretaries, in an article entitled

“Our Democracy Is Under Siege,” emphasized the fundamental problem of allowing

political actors to exercise unfettered control over government payments. They

warned that “it is not for the Treasury Department or the administration to decide

which of our congressionally approved commitments to fulfill and which to cast

aside.”9

      This amicus brief explains what BFS does, how it has traditionally been

managed by career civil servants, and the risks posed by tampering with the system.

While this brief is focused on the Treasury payment systems, DOGE personnel are

also seeking and gaining access to other sensitive government systems, including the

federal student aid system, which has confidential information about student



9
  See Robert Rubin et al., Five Former Treasury Secretaries: Our Democracy Is
Under        Siege,        N.Y.       Times,       Feb.         10,    2025,
https://www.nytimes.com/2025/02/10/opinion/treasure-secretaries-doge-
musk.html.

                                           4
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borrowers (some of whom are long out of school).10 There have been similar reports

of DOGE personnel accessing health agency payment and contracting systems as

well as systems for major programs like Medicaid and Medicare. 11 Many of the

same concerns raised by access to the Treasury systems hold for those systems as

well.

                                 ARGUMENT

I.      BFS IS RESPONSIBLE FOR DISBURSING THE FEDERAL
        GOVERNMENT’S PAYMENTS AND MAINTAINING HIGHLY
        SENSITIVE INFORMATION
        A.   BFS’s disbursement role
        BFS operates the “plumbing” that collects information from government

agencies about the people, entities, and governments to which funds should be

disbursed and then makes those payments. The vast majority of payments that flow

in and out of the federal government go through the Treasury payment systems. BFS

manages an average daily cash flow of roughly $205 billion, securely disbursed




10
  Collin Binkley & Bianca Vazquez Toness, Musk Team’s Access to Student Loan
Systems Raises Alarms over Personal Information for Millions, Associated Press,
Feb. 7, 2025, https://apnews.com/article/education-department-trump-doge-
8c5bba3883b3d924b28114a4f291bec4.
11
  Anna Wide Mathews & Liz Essley White, DOGE Aides Search Medicare Agency
Payment     Systems   for     Fraud,    Wall   St.   J.,  Feb.     5, 2025,
https://www.wsj.com/politics/elon-musk-doge-medicare-medicaid-fraud-
e697b162.


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nearly 1.3 billion payments totaling $5.4 trillion in fiscal year 2023, and centrally

disburses nearly 88 percent of all federal payments.12

      These payments operate through several different systems. For example, the

Automated Standard Application for Payments (known as ASAP.gov) makes grant

funding available to be securely drawn down by state and local governments,

educational and financial institutions, vendors and contractors, for-profit and

nonprofit organizations, and tribal organizations.       Through ASAP.gov, federal

agencies enroll recipient entities, authorize payments to them, and manage their

accounts, allowing these entities to request payments from pre-authorized accounts.

BFS also operates the Payment Automation Manager (or PAM), which is used to

make over a billion payments annually, including tax refunds and benefit payments

like Social Security.

      While these systems differ, they generally operate through the following

process:

      x A federal agency will develop, certify, and send a “payment file” to BFS
        through the Secure Payment System (SPS) with instructions on who is to
        be paid, when, and how much.13




12
      “Fiscal Service Overview: Data through FY 2023,”                         BFS,
https://www.fiscal.treasury.gov/about.html (last visited Feb. 11, 2025).
13
      See 31 U.S.C. § 3528; Secure Payment                         Systems,    BFS,
https://fiscal.treasury.gov/sps/ (last visited Feb. 11, 2025).


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      x That payment file will typically include the necessary information to
        complete a payment, including the recipient’s banking information, as well
        as sensitive identifying information like Social Security Numbers.14

      x Payment files are checked against a series of pre-approved data sets as part
        of the Do Not Pay program.15 These data sets check whether the intended
        payee is deceased (the “death master file”), delinquent on federal debts, or
        debarred from receiving payments or doing business with the federal
        government—such as blocked foreign nationals on the Office of Foreign
        Assets Control’s list. If issues are flagged, it is the agency that initiated
        the payment file that must adjudicate them and determine whether a
        payment is proper.
      x   BFS processes the payment by sending the money electronically to the
          designated account or sending a paper check—reflecting the fact that
          Treasury’s role is to disburse the funds, while the certifying agency
          establishes who is eligible to be paid and how much. It will do so only
          after the payment has been properly certified. See 31 U.S.C. § 3325(a)(1)
          (requiring “disbursing official[s]” to “disburse money only as provided by
          a voucher certified by . . . the head of the executive agency concerned”).
          Indeed, other than checking “the correctness of computations on a
          voucher”—and potentially redirecting some portion of a recipient’s
          payment towards a delinquent federal debt that they owed—disbursing
          officials at Treasury are “held accountable for” ensuring that any funds
          certified by the relevant agency are paid out to the payee. 31 U.S.C.
          § 3325(a)(3).

      As this process makes clear, BFS staff do not independently determine a

payment’s eligibility (a responsibility performed by agencies with respect to the

specific laws and regulations governing their programs), but instead ensure that


14
  See the July 11, 2019 “Privacy and Civil Liberties Impact Assessment: Payment
Automation Manager,” https://www.fiscal.treasury.gov/files/pia/pampclia.pdf, for
an example of sensitive information included in these systems.
15
  See Do Not Pay, BFS, https://www.fiscal.treasury.gov/DNP/ (last visited Feb. 11,
2025).


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requested payments are successfully and securely processed. As one court has

explained, “[t]he disbursing officials [at Treasury] do not review the vouchers to

determine the legality or propriety of the underlying claims but, rather, the

[Treasury’s] Regional Financial Centers examine the vouchers to determine if they

are in the proper format, have been duly certified and are correctly computed.” State

v. Bowsher, 734 F. Supp. 525, 530 (D.D.C. 1990). BFS career officials thus execute

an important but operational role: as noted above, if the payment information BFS

receives from an agency is certified in its proper form, then BFS makes the payment.

It is the so-called “certifying officer” at an agency—the one who sends over the

payment—who “is responsible for . . . the legality of a proposed payment under the

appropriation or fund involved,” including adjudicating any payment flags that are

raised by cross-checks with Do Not Pay databases. 31 U.S.C. § 3528(a). BFS has

no authority to directly alter requested payment amounts unless it is to “offset” (i.e.,

redirect a portion of a payment toward) a known government debt, an authority

provided in the Debt Collection Improvement Act of 1996. See Pub. L. 104-134,

§ 31001 (1996); see also 31 U.S.C. § 3716(c)(1)(A).

      Access to or control over the BFS systems could have implications for

entitlement programs, like Social Security and Medicare, and “discretionary”

programs funded annually through the appropriations process, whether implemented

via direct federal payments to individuals; through payments to states, territories, or



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tribal or local governments; or through payments to private nonprofits or businesses.

In each of these cases, BFS is responsible for ensuring that funds accurately reach

the intended federal recipients. To give three examples:

      x In the case of entitlement programs where money goes directly from the
        federal government to a recipient’s bank account, like Social Security
        benefits or veterans’ disability compensation, BFS processes a payment
        file that is developed by the Social Security Administration or the
        Department of Veterans Affairs and then deposits funds into an individual’s
        account or sends them a check.

      x In the case of a federal program administered by a state, territory, or tribal
        nation, program like Medicaid (administered by the Department of Health
        and Human Services) or WIC (the Department of Agriculture’s Special
        Supplemental Nutrition Program for Women, Infants, and Children), BFS
        processes a payment file to make funding available to the administering
        government, which then provides services or benefits to individuals. In
        some cases, this funding is provided up front; in others, it is provided on a
        reimbursable basis.

      x In the case of Pell Grants, where funds are provided to private (for-profit
        or nonprofit) universities, BFS processes a payment file from the
        Department of Education that enumerates how much the provider was due
        to be reimbursed or the university was due to cover Pell Grant recipients
        at the institution.
      B.     Personnel with access to BFS systems

      For decades, BFS (and its immediate predecessor, the Financial Management

Service) has been staffed by nonpartisan career employees led by a nonpartisan

career official, reporting to a career official (the fiscal assistant secretary).16 Only a


16
  For example, the three fiscal assistant secretaries who served between 2007 and
2025 had decades of civil service experience at Treasury among them. See, e.g.,
Jason Miller, Treasury’s Gregg to retire after 41 years in federal financial
management,       Federal       News        Network,       May       29,    2014,

                                            9
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small number of career staff at BFS have served as disbursing officials within the

Treasury Department. BFS maintains strict access controls and separation of duties

protocols, and individuals with access to BFS systems are subjected to extensive

monitoring and oversight. Each employee undergoes a thorough security screening

and is given extensive training on the proper management and operation of the

payment systems and the handling of sensitive data. This arrangement has protected

the integrity of these federal payment systems and processes, ensuring insulation

from political pressures or policy interests and focusing BFS’s mission on reliability,

accuracy, timeliness, operational efficiency, and privacy protections.

II.    DOGE ACCESS TO BFS SYSTEMS POSES SERIOUS RISKS
       TO THE INTEGRITY OF FEDERAL PAYMENT SYSTEMS
       The integrity of federal payment systems is critically important to the

individuals, businesses, organizations, governments, and financial institutions that

trust their information will be protected in the system and that legally owed

payments will be reliably received without any threat of interference. Breaking the




https://federalnewsnetwork.com/management/2014/05/treasurys-gregg-to-retire-
after-41-years-in-federal-financial-management/; Emma Brown, Kenneth E. Carfine
Treasury Official, Wash. Post, May 23, 2010, https://www.washingtonpost.com/wp-
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Treasury, “Donald V. Hammond Appointed Fiscal Assistant Secretary,” September
28, 1998, https://home.treasury.gov/news/press-releases/pr2716.


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longstanding precedent that non-career officials will not access or interfere with BFS

payment systems creates at least four major risks.

      A.     DOGE access would provide a centralized avenue for the
             illegal withholding of payments or benefits to a wide range
             of recipients.
      The Trump Administration has already indicated through its first-week

executive orders and the Office of Management and Budget’s actions (such as the

now rescinded OMB memo M-25-13) that it will seek to compel agencies to block

payments to legally entitled recipients for political or policy reasons, which may

amount to illegal impoundment.17 Already, this Court and other courts have begun

to order those actions stopped.18 Further, Musk has made clear his intention to use




17
   See, e.g., Executive Orders “Reevaluating and Realigning United States Foreign
Aid”, Exec. Order No. 14,169, 90 Fed. Reg. 8619 (Jan. 20, 2025), available at:
(https://www.whitehouse.gov/presidential-actions/2025/01/reevaluating-and-
realigning-united-states-foreign-aid/) and “Unleashing American Energy”, Exec.
Order. No. 14,154, 90 Fed. Reg. 8353 (Jan. 20, 2025), available at:
https://www.whitehouse.gov/presidential-actions/2025/01/unleashing-american-
energy/; see also Matthew J. Vaeth, “Memorandum for Heads of Executive
Departments           and        Agencies,”       January        27,        2025,
https://s3.documentcloud.org/documents/25506186/m-25-13-temporary-pause-to-
review-agency-grant-loan-and-other-financial-assistance-programs.pdf.
18
   Order, ECF No. 6, dated February 8, 2025; Order, All. for Retired Americans v.
Bessent, No. 25-cv-313 (D.D.C. Feb. 6, 2025), ECF No. 13; Order, New York v.
Trump, No. 25-cv-39 (JJM) (D.R.I. Feb. 10, 2025), ECF No. 96.


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BFS payments to cut federal spending, including his charge to DOGE staff to

maximize the amount of daily spending cuts.19

        Access to or control of the BFS payment systems would potentially allow

empowered political officials to bypass the guardrails of career civil servant

stewardship in federal agencies and at BFS and centralize efforts to illegally block

payments—either in conjunction with, or apart from, any steps agencies would take.

For example, individuals with access to the BFS payment system could potentially

(and illegally):

     x Block, or threaten to block, payment to a Social Security recipient.

     x Block, or threaten to block, specific program payments or federal payments
       en masse to a recipient state or local government based on a dispute over a
       policy issue (e.g., if a state is accused of not fully cooperating with the Trump
       Administration or acceding to its desires on issues like immigration or
       LGBTQ rights).

     x Block, or threaten to block, payments—potentially across multiple agencies’
       programs—to specific nonprofits or businesses that the Trump Administration
       views as non-compliant with their policy preferences, or perhaps are
       competitors to someone well connected to the Administration.




19
   “Reducing the federal deficit from $2T to $1T in FY2026 requires cutting an
average of ~$4B/day in projected 2026 spending from now to Sept 30.” @elonmusk,
X.com            (Jan.          30,          2025,          11:02         PM),
https://x.com/elonmusk/status/1885176751036252621; “I am cautiously optimistic
that we will reach the $4B/day FY2026 reduction this weekend.” @elonmusk,
X.com             (Feb.          1,          2025,          1:03          AM),
https://x.com/elonmusk/status/188557467873703982.

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        This is no idle fear. In response to retired Lt. General Michael Flynn posting

a list of institutions with “Lutheran” in their name that receive federal funding (both

service providers and universities), Elon Musk tweeted on February 2, 2025 that “the

DOGE team is rapidly shutting down these illegal payments.”20 Already—according

to one of Defendants’ declarants—BFS has been “directed” to flag certain payment

files, including from the Department of Health and Human Services and concerning

refugee assistance, “to determine whether . . . a pause” was required.21 These are

just some examples of how providing DOGE with unfettered access to BFS could

allow political officials to impose a payment stop on institutions that are eligible

recipients of funding and have been approved by the relevant agency.

        Even if the Trump Administration took no action, just the perceived ability to

block payments in this manner could coerce individuals or entities into complying

with Administration preferences that are not enshrined in law, issuing statements

supportive of the Administration, or making other concessions to prevent the

disruption of federal funds to which they are entitled. In short, it could become a

tool to bully those with whom the President or Elon Musk disagree.




20
        @elonmusk,      X.com,      (Feb.    2,    2025,               3:14      AM),
https://x.com/elonmusk/status/1885964969335808217.
21
     Decl. of Vona S. Robinson, ECF No. 32, ¶ 10.


                                          13
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      B.     DOGE access puts sensitive data—including taxpayer
             information, Social Security Numbers, and bank account
             information—in the hands of individuals who shouldn’t
             have access to it.

      The payment files that BFS maintains in its systems include highly sensitive

information, including recipients’ Social Security Numbers (regardless of the kinds

of payment they are receiving), addresses, and bank account information. BFS’s

systems also contain, among other things:

   ● direct deposit information and other sensitive identifying information for tens
      of millions of Social Security recipients;

   ● bank account information for nonprofit and for-profit providers of
      government services through Medicare; and

   ● potentially sensitive personal or business information from private firms that
      do business as government contractors.

      Unauthorized individuals who receive access to BFS’s system could gain

access to all of the above information, and more. And the risk that such information

could be inappropriately viewed by political appointees who were not thoroughly

vetted for access to sensitive information and lack the training needed to protect the

data could reduce participation in government programs or reduce competition to

provide government services. Businesses securing government contracts should not

have to weigh the risk that their sensitive information will be inappropriately viewed

by political appointees who might have close relationships with competitors—or, in

the case of special government employees like those at DOGE, still have financial

interests in those competitors themselves.

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      This risk is all the more acute given that one of the DOGE-affiliated

individuals named by Treasury as having access to the BFS payments systems—

Tom Krause—is serving as a temporary “special government employee” while still

retaining his role as CEO of a software firm.22 Even more troubling, Krause has

been given the role of fiscal assistant secretary overseeing BFS, despite that role

having been filled by non-partisan career civil servants for decades.23 Similarly,

Elon Musk has been leading DOGE efforts while seemingly still actively running

his several companies (and doing business with the federal government), creating

the possibility of extensive conflicts of interest.24

      C.     DOGE access creates operational security risks that could
             leave the system and sensitive information vulnerable to
             exploitation by external actors.

      BFS’s payment systems are considered part of the national financial critical

infrastructure and are subjected to heightened controls and protections.                 For

example, they must rigorously adhere to National Institute of Standards and

Technology security and safety standards to protect the systems from external threats


22
  See Decl. of Thomas H. Krause, ECF No. 13, ¶ 1; Decl. of Thomas H. Krause,
ECF No. 33, ¶ 1.
23
 Decl. of Thomas H. Krause, ECF No. 13, ¶ 1; Decl. of Thomas H. Krause, ECF
No. 33, ¶ 1.
24
  See Letter from Senator Adam B. Schiff to Susan Wiles, White House Chief of
Staff,      February      10,    2025,       https://www.schiff.senate.gov/wp-
content/uploads/2025/02/20250210-Sen-Schiff-Letter-to-COS-Wiles-on-Musk.pdf

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and cyberattacks.25 The payment systems must be rigorously maintained and kept

up to date. Any system changes, no matter how small, must be performed by trained

and authorized personnel, carefully controlled and monitored, and deployed only

after thorough testing. The payment systems are designed to adhere to a “zero trust

cybersecurity standard,” in which systems access is limited to the minimum needed

for any particular function and constant verification and authentication are required

to grant such access.26 In this respect, errors have already been made, with one

DOGE member “mistakenly” given read-and-write instead of read-only access.27

      Providing full access to the BFS payment systems to unaccountable or

inexperienced actors like DOGE therefore poses significant operational risks for




25
  BFS, “Congressional Budget Justification and Annual Performance Plan and
Report FY 2025,” https://home.treasury.gov/system/files/266/14.-BFS-FY-2025-
CJ.pdf.
26
   For a definition of “zero trust architecture,” see “Executive Order 14028—
Improving the Nation’s Cybersecurity,” Exec. Order No. 14,028, 86 Fed. Reg. 26633
(May 12, 2021), at p. 15, https://www.govinfo.gov/content/pkg/DCPD-
202100401/pdf/DCPD-202100401.pdf and OMB M-22-09 “Moving the
Government Toward Zero Trust Cybersecurity Principles,” January 26, 2022,
https://zerotrust.cyber.gov/downloads/M-22-
09%20Federal%20Zero%20Trust%20Strategy.pdf.
27
  See Decl. of Joseph Gioeli III, ECF No. 34, ¶ 20; see also Decl. of Thomas H.
Krause, ECF No. 33, ¶ 16 n.2.


                                         16
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fraud, theft, or espionage.28 Such appointees, lacking the vetting and training

described above, could accidentally expose a “roadmap” for thieves and fraudsters

looking to penetrate the system, or for foreign intelligence services seeking to build

out their understanding of who is receiving funds, in what amounts, and for what

purposes—risking a cyberattack that would throw the federal government into

chaos.      The cybersecurity risks could stem from DOGE personnel using

unauthorized systems to copy or analyze sensitive data or exposing—even if

unintentionally—protected information about how the system works. And DOGE

appears to have pushed career civil servants to grant inappropriate access to political

appointees who lack experience in these systems and have little oversight or

restraint, which could override existing protections in ways that dramatically

increase those risks.29 These risks are not merely speculative. The Treasury

Department is frequently the target of hacks and other malicious cyber activity that

are increasing in frequency and intensity. As recently as December 2024, the

Treasury Department disclosed a major cybersecurity incident involving Chinese




28
   James Goldgeier & Elizabeth Saunders, Does DOGE Pose a National Security
Risk? Foreign Affairs, Feb. 7, 2025, https://www.foreignaffairs.com/united-
states/elon-musk-does-doge-pose-national-security-risk.
29
     See Order at 2, ECF No. 6.

                                          17
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state-sponsored hackers that were able to override a third-party software service

provider’s security measures to access multiple Treasury workstations.30

      Granting inappropriate access to political actors who may not closely adhere

to existing safeguards is an unaffordable risk for cyber attacks and national security.

      D.     Even absent a cybersecurity event, providing DOGE with
             access to these sensitive systems creates the risk of
             “breaking” the system in ways that could inadvertently
             delay or stop payments like Social Security from arriving on
             time.
      BFS disburses 1.3 billion payments a year and reports making 100 percent of

payments on time.31 Any efforts to interfere with the system, even in a limited way,

run the risk of creating broader problems that could delay payments or damage the

perceived reliability of federal payments.      The system is designed to process

payments at volume, and any attempts to target individual recipients at the

disbursement stage—as opposed to at the agency level, before the payment file is

sent—run the risk of delaying a much larger set of payments like monthly Social

Security benefits. Markets, financial institutions, organizations and states providing




30
  “Letter from Aditi Hardikar, U.S. Department of the Treasury to Senator Sherrod
Brown and Senator Tim Scott, Dec. 30, 2024, available at:
https://www.documentcloud.org/documents/25472698-letter-from-treasury-re-
december-2024-cyberattack/.
31
     “Fiscal Service Overview: Data Through FY 2023”,                            BFS,
https://www.fiscal.treasury.gov/about.html (last visited Feb. 11, 2025).


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services, and individuals all rely on the timely disbursement of government funds,

so the payment systems cannot afford even brief unscheduled disruptions.

                                      *     *      *

           DOGE access to BFS thus poses several significant risks to the integrity of

the federal payment systems. Indeed, Defendants’ own declarant has admitted that

DOGE’s access “could present risks, including potential disruptions to BFS’s

payments systems, cybersecurity vulnerabilities, insider threat risks, and other risks

that are inherent to any user access to sensitive IT systems.”32 And even BFS’s and

DOGE’s “mitigation measures . . . could not fully guarantee that risks would not

materialize.”33

III.       PROVIDING DOGE INDIVIDUALS WITH “READ-ONLY
           ACCESS” DOES NOT REMOVE THESE RISKS

           Limiting DOGE-affiliated individuals to “read-only access” does not solve

these problems. As described above, many of the risks posed by DOGE access to

BFS’s systems exist regardless of whether the officials can just read the data or also

can modify it.         Read-only access would still threaten individuals’ privacy,

compromise national security, and provide information that could support a broad

and inappropriate use of the improper payments law to initiate illegal impoundment.



32
     Decl. of Thomas H. Krause, ECF No. 33, ¶ 15.
33
     Id.


                                            19
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        In fact, even an individual limited to “read-only” access can still direct

personnel with current read-and-write access to stop payments through BFS—and

Treasury Secretary Bessent has not committed to ensuring that such direction will

not be given. Instead, as described above, contravening decades of non-partisan

career civil servants serving as fiscal assistant secretary and overseeing BFS,

Secretary Bessent has delegated those responsibilities to political appointee Tom

Krause.34 This followed reporting in the New York Times that Krause had advocated

for career staff to hold one agency’s certified payments even after being informed

by the then-fiscal assistant secretary that he did not believe Treasury had the legal

authority to stop such payments.35 As one of Defendants’ own declarants admits,

Krause has therefore worked to “effectuate [a] decision” that “certain types of

foreign aid-related payments be paused.”36

        Treasury’s payment systems have long been managed by non-political

technical experts for a reason—our government relies on trust from all parties,

including the general public, that BFS will provide funds, on time and securely, to

those who government agencies determine are meant to receive them under the law.

This is why five former Treasury secretaries wrote recently that any hint that


34
     See Decl. of Thomas H. Krause, ECF No. 13.
35
     Duehren, Rappeport & Schleifer, supra.
36
     Decl. of Vona S. Robinson, ECF No. 32, ¶ 7.


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congressionally authorized payments could be selectively suspended by Treasury

comes at a cost to the credibility of the United States and would be “a breach of trust

and ultimately, a form of default.”37 The approach signaled by DOGE leadership

risks destroying the public’s trust, whether by creating an opportunity for political

actors to unilaterally block payments to those who are legally entitled to receive

them, compromising the privacy and security of sensitive information for millions

of Americans, or inadvertently destabilizing the payment system.




37
     Robert Rubin et al., supra.


                                           21
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                                  CONCLUSION

      For the above reasons, DOGE’s access to BFS payment systems poses critical

risks to the Federal Government’s fiscal integrity. The Court should grant Plaintiffs’

motion for a preliminary injunction.

Date: February 13, 2025

                                       Respectfully submitted,

                                       /s/ Gregory L. Diskant
                                       Gregory L. Diskant
                                       Aron Fischer
                                       Jacob I. Chefitz
                                       Andrew Lief (admission pending)
                                       Sean M. Lau
                                       PATTERSON BELKNAP WEBB & TYLER LLP
                                       1133 Avenue of the Americas
                                       New York, NY 10036
                                       (212) 336-2000
                                       gldiskant@pbwt.com
                                       afischer@pbwt.com
                                       jchefitz@pbwt.com
                                       alief@pbwt.com
                                       slau@pbwt.com

                                       Counsel for Amici Curiae




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                          CERTIFICATE OF SERVICE

      I hereby certify that on February 13, 2025, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will provide electronic

notice and an electronic link to this document to all attorneys of record.

                                       /s/ Gregory L. Diskant
                                       Gregory L. Diskant
                                       PATTERSON BELKNAP WEBB & TYLER LLP
                                       1133 Avenue of the Americas
                                       New York, NY 10036
                                       (212) 336-2000
                                       gldiskant@pbwt.com
                                       Counsel for Amici Curiae




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